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                                1    JEFFREY K. GARFINKLE (SBN: 153496)
                                     BUCHALTER, A Professional Corporation
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                                3    Irvine, CA 92612-0514
                                     Telephone: (949) 760-1121
                                4    Facsimile: (949) 720-0182
                                     Email: jgarfinkle@buchalter.com
                                5
                                     JULIAN I. GURULE (SBN: 252160)
                                6    BUCHALTER, a Professional Corporation
                                     1000 Wilshire Boulevard, Suite 1500
                                7
                                     Los Angeles, CA 90017-1730
                                8    Telephone: (213) 891-0700
                                     Facsimile: (213) 896-0400
                                9    Email: jgurule@buchalter.com
                           10        Attorneys for Fleet Yards, Inc.
                           11
                                                                UNITED STATES BANKRUPTCY COURT
                           12
                                                                 CENTRAL DISTRICT OF CALIFORNIA
                           13
                                                                       LOS ANGELES DIVISION
                           14

                           15        In re                                             Case No. 2:20-bk-17433 VZ

                           16        JONG UK BYUN,                                     Chapter 11

                           17                       Debtor.                            DECLARATION OF DANIEL OTTING
                                                                                       IN SUPPORT OF FLEET YARDS,
                           18                                                          INC.’S (I) PRELIMINARY
                                                                                       OBJECTION TO DEBTOR’S MOTION
                           19                                                          FOR ORDER APPROVING SALE OF
                                                                                       THE REAL PROPERTY AND (II)
                           20                                                          REQUEST FOR ADEQUATE
                                                                                       PROTECTION PURSUANT TO
                           21                                                          SECTION 363(E)

                           22                                                          Date:    December 9, 2021
                                                                                       Time:    11:00 a.m.
                           23                                                          Ctrm:    1368
                                                                                                Edward Roybal Building
                           24                                                                   255 E. Temple Street
                                                                                                Los Angeles, CA 90012
                           25

                           26

                           27

                           28
      BUCHALTER
A PROFES SION AL CORPORAT ION
           IRVINE



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                                1           I, Daniel Otting, hereby declare under penalty of perjury:

                                2           I am an individual over the age of 18 and am competent to testify as to the facts set forth in

                                3   this declaration. If called upon to testify, I could and would testify to the facts set forth in this

                                4   declaration. I am authorized by Fleet Yards, Inc. (“Fleet Yards”) to submit this declaration.

                                5           I am the Chief Executive Officer of Fleet Yards, which operates in the container transport

                                6   and storage industry.

                                7           I offer this declaration in support of Fleet Yards’ opposition to the sale motion filed by the

                                8   above-captioned debtor and debtor-in-possession (the “Preliminary Objection”), which will be filed

                                9   contemporaneously with this declaration. All capitalized terms used and not defined herein shall

                           10       have the meanings ascribed to such terms in the Preliminary Objection.

                           11               On August 24, 2020, Fleet Yards and, nominally, Central Metals, Inc. entered into that

                           12       certain Commercial Lease Agreement (as defined in the Preliminary Objection, the “Fleet Yards

                           13       Lease”). A true and correct copy of the Fleet Yards Lease is attached hereto as Exhibit A.

                           14               The Debtor’s real estate broker, Century 21, represented both Central Metals and Fleet

                           15       Yards in connection with the negotiation and execution of the Fleet Yards Lease.

                           16               Fleet Yards is currently in possession of the Property and operates its transport containers

                           17       business on the premises. Fleet Yards’ business would be substantially and negatively impacted if

                           18       it loses possession of the Property and is forced to terminate its business at that location.

                           19               Fleet Yards is not a related party with respect to the Debtor or Central Metals and has no

                           20       relationship with either party aside from the Fleet Yards Lease and Fleet Yards’ possession of the

                           21       Property.

                           22               I declare under penalty of perjury that the foregoing is true and correct.

                           23               Executed on December 6, 2021, in Laguna Beach, California.

                           24
                                                                                          /s/ Daniel Otting
                           25                                                      Daniel Otting
                           26

                           27

                           28
      BUCHALTER
A PROFES SION AL CORPORAT ION
           IRVINE
                                                                                       1
                                    BN 48395581v1
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                        EXHIBIT A




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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
BUCHALTER, 1000 Wilshire Blvd., Suite 1500, Los Angeles, CA 90017


A true and correct copy of the foregoing document entitled (specify): DECLARATION OF DANIEL OTTING IN SUPPORT
OF FLEET YARDS, INC.’S (I) PRELIMINARY OBJECTION TO DEBTOR’S MOTION FOR ORDER APPROVING SALE
OF THE REAL PROPERTY AND (II) REQUEST FOR ADEQUATE PROTECTION PURSUANT TO SECTION 363(E)

will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
12/6/2021           , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) 12/6/2021           , I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

 Debtor:                                            United States Trustee (LA)                          Hon. Vincent P. Zurzolo
 Jong Uk Byun                                       Attn: Kelly L. Morrison                             U.S. Bankruptcy Court
 8201 Santa Fe Ave.                                 915 Wilshire Blvd, Suite 1850                       Roybal Fed. Bldg.
 Huntington Park, CA 90255                          Los Angeles, CA 90017                               255 E. Temple St., Ste. 1360
                                                                                                        Los Angeles, CA 90012

                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)                     , I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.


                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

12/6/2021                      Shirlene Martin                                                 /s/ Shirlene Martin
 Date                          Printed Name                                                     Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


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    1.        TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):


    •    Katrina M Brown kbrown@pskbfirm.com
    •    Shirley Cho scho@pszjlaw.com
    •    Theron S Covey theronscovey@hotmail.com, sferry@raslg.com
    •    Oscar Estrada oestrada@ttc.lacounty.gov
    •    Robert P Goe kmurphy@goeforlaw.com, rgoe@goeforlaw.com;goeforecf@gmail.com
    •    Hal D Goldflam hgoldflam@frandzel.com, dmoore@frandzel.com
    •    Michael S Greger mgreger@allenmatkins.com, kpreston@allenmatkins.com
    •    Carrie V Hardman chardman@winston.com
    •    M. Jonathan Hayes jhayes@rhmfirm.com,
         roksana@rhmfirm.com;matt@rhmfirm.com;rosario@rhmfirm.com;pardis@rhmfirm.com;russ@rhmfirm.com;david
         @rhmfirm.com;sloan@rhmfirm.com;boshra@rhmfirm.com;rosario@rhmfirm.com
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    •    William W Huckins whuckins@allenmatkins.com, clynch@allenmatkins.com;igold@allenmatkins.com
    •    Evan M Jones ejones@omm.com, evan-jones-5677@ecf.pacerpro.com
    •    Michael T Leary MTLeary@winston.com, ecf_sf@winston.com;mike-leary-
         2899@ecf.pacerpro.com;pacercourtfile@winston.com
    •    David W. Meadows david@davidwmeadowslaw.com
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    •    Daniel E Park dpark@parksylvalaw.com
    •    Valerie Smith claims@recoverycorp.com
    •    Derrick Talerico dtalerico@ztlegal.com, maraki@ztlegal.com,sfritz@ztlegal.com
    •    United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
    •    Roye Zur rzur@elkinskalt.com, cavila@elkinskalt.com;myuen@elkinskalt.com




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
